323 F.2d 606
    Melvin W. COLLINS, Appellant,v.Hugh F. RIVERS, Executive Member of the D. C. Parole Board, et al., Donald M. Clemmer, Director, Dept. of Corrections, et al., and Paul F. Pegelow, Superintendent, Lorton Reformatory, Appellees.
    No. 9046.
    United States Court of Appeals Fourth Circuit.
    Argued October 1, 1963.
    Decided October 4, 1963.
    
      Harvey B. Cohen, Alexandria, Va., on the brief for appellant.
      C. V. Spratley, Jr., U. S. Atty., and MacDougal Rice, Asst. U. S. Atty., on the brief for appellee.
      Before HAYNSWORTH and BOREMAN, Circuit Judges, and R. DORSEY WATKINS, District Judge.
      PER CURIAM.
    
    
      1
      This District of Columbia prisoner, then confined in Lorton Reformatory in the Eastern District of Virginia, filed a petition for habeas corpus seeking a re-determination of his good conduct time allowance. He had been returned to Lorton in 1962 after a parole revocation to serve the remainder of a previously imposed sentence. In April 1963 he filed a petition contending that, with proper allowance for good conduct, his discharge date was August 15, 1963, rather than October 1, 1963 as indicated by the Warden's records.
    
    
      2
      The District Court denied the requested relief, but the prisoner was unconditionally released on September 6, 1963. He is now at large and not subject to further supervision.
    
    
      3
      By his unconditional release on September 6, 1963, the question tendered on appeal became moot.
    
    
      4
      Appeal dismissed.
    
    